AO 450 (Rev. 5/85) Judgment in a Civil Case




        United States District Court
                                  EASTERN DISTRICT OF WISCONSIN



                                                            JUDGMENT IN A CIVIL CASE

          SUSIE J. ODOGBA,

                                              Plaintiff,

                               V.                             CASE NUMBER: 13-C-573

          WISCONSIN DEPARTMENT OF JUSTICE,
          STATE CRIME LABORATORY – MILWAUKEE,

                     and

          J. B. VAN HOLLEN,
          KEVIN M. ST. JOHN,
          BONNIE L. CYGANEK,
          BRIAN R. O’KEEFE,
          DAVID B. ZIBOLSKI,
          KEVIN E. JONES,
          MARY K. CASEY,
          JANA L. CHAMPION, and
          EVA M. LEWIS,
          Individually and in their Official Capacities,

                                              Defendants.


☐         Jury Verdict. This action came before the Court for a trial by jury. The
          issues have been tried and the jury has rendered its verdict.

☒         Decision by Court. This action came on for consideration and a decision
          has been rendered.




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       IT IS ORDERED AND ADJUDGED that defendant State Crime
       Laboratory-Milwaukee is DISMISSED from this action with
       prejudice because it is not a suable entity separate from the
       Wisconsin Department of Justice.

       The plaintiff’s §§ 1981 and 1983 claims against the Wisconsin
       Department of Justice and the Individual Defendants in their
       official capacities are DISMISSED with prejudice.

       The plaintiff’s §§ 1981 and 1983 claims against J. B. Van Hollen,
       Kevin M. St. John, Mary K. Casey, Jana L. Champion and Eva
       M. Lewis in their individual capacities are DISMISSED.

       The plaintiff’s Title VIII claims for race discrimination and
       retaliation against all the Individual Defendants in both their
       individual and official capacities are DISMISSED with
       prejudice.

       The plaintiff’s Title VIII claims for race discrimination and
       retaliation for punitive damages are DISMISSED with
       prejudice.

       The plaintiff’s §§ 1985 and 1986 claims (fourth and fifth causes
       of action) are DISMISSED.

       The remaining claims have been resolved, therefore this action
       is hereby DISMISSED WITH PREJUDCIE.



       July 14, 2015                           JON W. SANFILIPPO
Date                                           Clerk


                                                s/ Linda M. Zik
                                               (By) Deputy Clerk




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